Case 2:21-cv-01232-GRB-ST                Document 2          Filed 03/08/21      Page 1 of 1 PageID #: 22




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------X   Case No.
  JANE DOE,

                                   Plaintiff,

                   - against –

  LONG ISLAND MOTORS, INC. and DAVID
  DELVECCHIO, Individually,

                                    Defendants.
  ----------------------------------------------------------------X

     NOTICE OF MOTION REQUESTING LEAVE FOR PLAINTIFF TO PROCEED
                         PSEUDONYMOUSLY

         PLEASE TAKE NOTICE THAT upon the annexed Memorandum of Law, Plaintiff

 will move this Court at the United States Courthouse for the Eastern District of New York, 225

 Cadman Plaza East, Brooklyn, New York 11201, in front a Judge to be assigned, at a time to be

 decided, for an Order granting Plaintiff leave to proceed pseudonymously.


 Dated: New York, New York
        March 8, 2021

                                                                      PHILLIPS & ASSOCIATES,
                                                                      ATTORNEYS AT LAW, PLLC



                                                              By:     _________/s/_________________
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